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X
ERIC J. FAIR, )(
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Petitioner, X
X
vs. X No. 05-2074-Ma/P
X
RICKY BELL, )(
X
Respondent. X
X
ORDER DE.NYING LE`.AVE TO PROCEED L\I_ FORMA PAUPERIS
ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD F`AI'I'H
Petitioner Eric J. Fair, Tennessee Department of

Correction prisoner number 229661, an inmate at the Riverbend
Maximun1 Security lnstitution (“RMSI”) in Nashville, Tennessee,
filed a prp §§ petition pursuant to 28 U.S.C. § 2254 on January 28,
2005, along with an application seeking leave to proceed in forma
pauperis. Because Fair paid the habeas filing fee on February l,
2005, the motion to proceed in jp;m§ pauperis is DENIED as moot.
The Clerk shall record the respondent as RMSI warden Ricky Bell.
l. STATE COURT PROCEDURAL HISTORY

On or about December 3, 1993, Fair was convicted

following a jury trial in the Shelby County Criminal Court of first

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degree murder in the shooting death of Gloria Rice on April 16,
1992.1 Fair was sentenced to life imprisonment. The Tennessee Court
of Criminal Appeals affirmed. State v. Fair, No. O2COl-9403-CR-
00055, 1995 WL 686105 (Tenn. Crim. App. Nov. 15, 1995), perm. app.
denied (Tenn. May 6, 1996).

According to the documents submitted with the petition,
Fair filed a prp §§ petition pursuant to the then-current version
of the Tennessee Post-Conviction Procedure Act, Tenn. Code Ann. §§
40-30-201 to -222, in the Shelby County Criminal Court on October
ll, 1999, alleging that he had received ineffective assistance of
counsel because his attorney had failed to file an application for
permission to appeal the decision of the Tennessee Court of
Criminal Appeals on direct appeal to the Tennessee Supreme Court.
The postconviction court summarily dismissed the petition on
December 13, 1999, pursuant to Tenn. Code Ann. § 40~30-206(f),
because appellate counsel had, in fact, filed an application for
permission to appeal that was denied by the Tennessee Supreme
Court. lt does not appear that Fair appealed the dismissal of his
postconviction petition.

The petition before the Court alleges that Fair filed a
petition for a writ of habeas corpus, pursuant to Tenn. Code Ann.
§ 29-21-101 et §§g;, in the Davidson County Criminal Court on

October l?, 2002. The trial court issued an order dismissing that

 

1 According to the petition, Fair was convicted of intentional first

degree murder but was acquitted of felony murder.

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petition

on November ll, 2002. The Tennessee Court of Criminal

Appeals affirmed in an unpublished opinion issued on October 2,

2003 that

was not supplied by the petitioner. The Tennessee Court

of Criminal Appeals denied permission to appeal on February 2, 2004

because the application was not timely filed.

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PETITIONER'S FEDERAL HABEAS CLAIMS
In this federal habeas petition, Fair raises

issues:

Whether there was a fatal variance between the
indictment and the evidence presented at trial
because of the trial court's erroneous jury
instruction permitting the jury to apply the
common-law doctrine of transferred intent when it
was undisputed that Fair intended to rob Terrance
Cox, not murder him; and

Whether the trial court erred when it refused to
instruct the jury on any lesser-included offenses;
and

Whether the evidence was sufficient to convict Fair
of intentional first degree murder.

III. ANALYSIS OF THE MERITS

the

The first issue to be considered is the timeliness of

this petition. Twenty-eight U.S.C. § 2244(d) provides:

(l)

A l-year period of limitation shall apply to an
application for a writ of habeas corpus by a person
in custody pursuant 'to the judgment of a State
court. The limitation period shall begin to run
from the latest of-

(A) the date on which the judgment became final by
the conclusion of direct review or the
expiration of the time for seeking such
review;

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(B) the date on which the impediment to filing an
application created by State action in
violation of the Constitution or laws of the
United States is removed, if the applicant was
prevented from filing by such State action;

(C) the date on which the constitutional right
asserted was initially recognized by the
Supreme Court, if the right has been newly
recognized by the Supreme Court and made
retroactively applicable to cases on
collateral review; and

(D) the date on which the factual predicate of the

claim or claims presented, could have been
discovered through the exercise of due
diligence.

(2) The time during which a properly filed application

for State post-conviction or other collateral

review with respect to the pertinent judgment or

claim is pending shall not be counted toward any
period of limitation under this subsection.

Application of these provisions in this case is
straightforward. State convictions ordinarily become “final” within
the meaning of § 2244(d)(1)(A) at the expiration of the time for
filing a petition for a writ of certiorari from a decision of the
highest state court on direct appeal. Bronaugh v. Ohio, 235 F.3d
280, 283 (6th Cir. 2000). The Tennessee Supreme Court denied review
on May 6, 1996 and, therefore, the statute of limitations began to
run at the conclusion of the time for filing a petition for a writ

of certiorari on August 5, 1996. Because Fair did not file any

collateral challenge to his conviction during the next year, the

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one-year limitations period expired. on August 5, 1997.2 This
petition was purportedly signed on January 26, 2005 and, even if it
were deemed to have been filed on that date, see Houston v. Lack,
487 U.S. 266 {1988); Miller v. Collins, 305 F.3d 491, 497-98 a n.
8 (6th Cir. 2002); Towns v. United States, 190 F.3d 468, 469 (6th
Cir. 1999) (§ 2255 motion), it is clearly time barred.3
The one-year limitations period applicable to § 2254

motions is subject to equitable tolling. Griffin v. Rogers, 308
F.3d 647, 652-53 (6th Cir. 2002); see also Dunlap v. United States,
250 F.3d 1001, 1004 (6th Cir. 2001) (equitable tolling also applies
to § 2255 motions). Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(l) the petitioner’s lack of notice of the filing

requirement; (2) the petitioner's lack of constructive

notice of the filing reguirement; (3) diligence in

pursuing one's rights; (4) absence of prejudice to the

respondent; and (5) the petitioner's reasonableness in

remaining ignorant of the legal requirement for filing
his claim.

 

2 lt is not necessary for this Court to consider whether‘ Fair’s
subsequent state postconviction petition, or his state habeas petition, were
“properly filed application[s] for State post-conviction or other collateral
review” within the meaning of 28 U.S.C. § 2244(d)(2) and Artuz v. Henderson, 431
U.S. 4 (2000), sufficient to toll the running of the limitations period, because
they were not filed until after the limitations period had already expired. Owens
v. Stine, No. 01-1200, 27 Fed. Appx. 351, 353 (6th Cir. Oct. 2, 2001) (“A state
court post-conviction motion that is filed following the expiration of the
limitations period cannot toll that period because there is no period remaining
to be tolled.”).

3 Section 2244(d)(l) provides that the limitations period begins to run
from the latest of the four specified circumstances. In this case, however, an
examination of Fair's claims reveals no basis for concluding that the limitations
period commenced at any time later than the date on which his conviction became
final. ln particular, although Fair apparently raised his first issue in the
state habeas petition, which was filed in 2002, there seems to have been no
impediment to his raising that issue on direct appeal.

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Dunlap, 250 F.3d at 1008.4

The Sixth Circuit has repeatedly stated its view that
“equitable tolling relief should be granted only sparingly.” §m§§§,
259 F.3d at 500; see also Vroman v. Brigano, 346 F.3d 598, 604 (6th

Cir. 2003); Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

 

Typically, equitable tolling applies only when a

litigant’s failure to meet a legally-mandated deadline

unavoidably arose from circumstances beyond that

litigant’s control. . . . Absent compelling equitable

considerations, a court should not extend limitations by

even a single day.
Graham-Humphrevs v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also Kind v. United States, 63 Fed. Appx.
793, 795 (6th Cir. Mar. 27, 2003); Johnson v. U.S. Postal Serv.,
No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing to
apply equitable tolling when pro §§ litigant missed filing deadline
by one day). Thus, ignorance of the law by pro §§ litigants does
not toll the limitations period. Price v. Jamrog, 79 Fed. Appx.
110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed.
Appx. 682, 685-86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49
Fed. Appx. 495, 497 (6th Cir. Sept. 27, 2002) (“Miller’s lack of
knowledge of the law does not excuse his failure to timely file a

habeas corpus petition.”); Brown v. United States, 20 Fed. Appx.

373, 374 (6th Cir. Sept. 21, 2001) (“lgnorance of the limitations

 

4 This five-factor standard is identical to the test used to determine

whether equitable tolling is appropriate in other contexts, including employment
discrimination cases. Amini v. Oberlin College, 259 F.3d 493, 500 (6th Cir.
2001) (citing Dunlap); Truitt v. Countv of Wavne, 148 F.3d 644, 648 (6th Cir.
1998).

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period does not toll the limitations period.”); cf. Jurado, 337

 

F.3d at 644-45 (1awyer's mistake is not a proper basis for
equitable tolling).5

Fair cannot satisfy his burden of demonstrating that
equitable tolling would be appropriate in this case. lt appears
that Fair mistakenly assumed that the one-year period for filing a
petition pursuant to 28 U.S.C. § 2254 commences to run, in the
first instance, only after the disposition of all state-court
collateral challenges to his conviction. For the reasons previously
stated, Fair’s ignorance of the law provides no basis for tolling
of the limitations period.

Because it “plainly appears from the face of the petition
and any exhibits annexed to it that the petitioner is not entitled
to relief7 in the district court,” summary dismissal prior to
service on the respondent is proper. Rule 4, Rules Governing
Section 2254 Cases in the United States District Courts. The
petition is DISMISSED.

IV. APPEAL ISSUES

 

The Court must also determine whether to issue a

certificate of appealability (“COA”). The statute provides:

 

5 See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a
petitioner does not have a right to assistance of counsel on a habeas appeal .
. , and because an inmate's lack of legal training, his poor education, or even
his illiteracy does not give a court reason to toll the statute of limitations
. . , we are loath to impose any standards of competency on the English
language translator utilized by the non-English speaking habeas petitioner.”).

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(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph7 (1) only if the applicant has made a
substantial showing of the denial cf a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA). No
§ 2254 petitioner may appeal without this certificate.

ln Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle,r 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'" Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue

limitations on the issuance of certificates of appealability:

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[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. lt is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,

463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more
than the absence of frivolity'” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
lndeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

l§§ at 338 (quoting Barefoot, 463 U.S. at 893); see also i§§ at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the
resolution of that debate.”).6

ln this case, there can be no question that any appeal by

this petitioner on any of the issues raised in this petition does

 

5 By the same token, the Supreme Court also emphasized that “[o]ur

holding should not be misconstrued as directing that a COA always must issue."
ld. at 337. lnstead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” ld.

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not deserve attention as the petition is time barred. The Court,
therefore, DENIES a certificate of appealability.

The Sixth Circuit has held that the Prison Litigation
Reform Act of 1995, 28 U.S.C. § 1915(a)-(b), does not apply to
appeals of orders denying habeas petitions. Kincade v. Sparkman,
117 F.3d 949, 951 (6th Cir. 1997}. Rather, to appeal pp f§;m§
pauperis in a habeas case, and thereby avoid the $255 appellate
filing fee required by 28 U.S.C. §§ 1913 and 1917, the prisoner
must obtain pauper status pursuant to Federal Rule of Appellate
Procedure 24(a). Kincade, 117 F.3d at 952. Rule 24(a) provides that
a party seeking pauper status on appeal must first file a motion in
the district court, along with a supporting affidavit. Fed. R. App.
P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or
otherwise denies leave to appeal §§ jp§m§ p§pp§pl§, the prisoner
must file his motion to proceed ip fp;m§ p§pp§pi§ in the appellate
court. §§§ Fed. R. App. P. 24(a)(4)-(5).

ln this case, for the same reasons the Court denies a
certificate of appealability, the Court determines that any appeal
would. not be taken in good faith. lt is therefore CERTlFlED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter
is not taken in good faith, and leave to appeal ip jppm§ p§pp§;§§
is DENlED. Accordingly, if petitioner files a notice of appeal, he

must also pay the full $255 appellate filing fee or file a motion

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to proceed §§ forma pauperis and supporting affidavit in the Sixth

Circuit Court of Appeals within thirty (30)

ii rs so oRDERE;D this /“J’{'\ day cf June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02074 Was distributed by fax, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Eric Fair

RIVERBEND MAXIMUM SECURITY INSTITUTION
22966]

7475 Cockrill Bend Road

Nashville, TN 37209

Honorable Samuel Mays
US DISTRICT COURT

